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     '
(Revised 03/2020)



                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                               APPEARANCE BOND: - - - - - - - - ----Ill-                     NOV 2 4 2021
                                                                                             ANGELA E. NOBLE
                                                                                            CLERK U.S. DIST. CT.
                                           CASE NO.:   21-80178-CR-Marra                    S.D. OF FLA. -W.P.B.



UNITED STATES OF AMERICA:
                        Plaintiff,
V.                                                            USM#:
                                                                       ------------
APRIL ROSE FRANTANTONI

                        Defendant,
_ ________________./
I, the undersigned defendant and I or we, the undersigned sureties, jointly and severally acknowledge that we and
our perso nal representatives, jointly and severally, are bound to pay the United States of America, the sum of
$         ~ so ~aoa C
                                     8513
                                     I


                                         ST AND ARD CONDITIONS OF BOND

The conditions of this bond are that the defendant:

    I. Shall appear before this Court and at such other places as the defendant may be required to appear, in
accordance with any and all orders and directions relating to the defendant 's appearance in this case, including
appearance for violation of a condition of the defe ndant' s rel ease as may be ordered or notified by this Court or
any other United States District Court to which the defendant may be held to answer or the cause transferred . The
defendant is required to ascertain from the Clerk of Court or defense counsel the time and place of all scheduled
proceedings on the case. In no event may a defendant assume that his or her case has been dismissed unless the
Court has entered an order of dismissal. The defendant is to abide by any judgment entered in such matter by
surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.
This is a continuing bond, including any proceeding on appeal or review, which shall remain in full force and
effect until such time as the Court shall order otherwise.

   2. May not travel outside the Southern District of Florida unless otherwise approved by the Court prior to
any such travel. The Southern District of Florida consists of the following counties: Broward , Highlands, Indian
River, Martin, Miami-Dade, Monroe, Okeechobee , Palm Beach and St. Lucie.

   3. May not change hi s/her present address w ithout prior notification and approval from the U.S. Probation
Officer or the Court.

   4. Must cooperate w ith law enforcement officers in the collection of a DNA sample if the collection is
required by 42 U.S.C. Section 14135a.

    5. Must not violate any federal , state or local law while on rel ease in this case . Should the defendant come
in contact with law enforcement he/she shall notify the U.S . Probation Officer within 72 hours .
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                                            SPECIAL CONDITIONS OF BOND

 In addition to compliance with the previously stated conditions of bond , the defendant must comply with the
 sp7    conditions checked below :

  _a.Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      p uring the pendency of the case;
  M. Report to Pretrial Services as follows: ~         ) as directed or_ time(s) a week in person and_ time(s) a week by
      ~     elephone;
  ~c
          7
       ubmit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
  ✓. ~o pay, as determined by the U.S. Probation Officer; ( 1 T" ~ " ' v .W t lL ,-Jr;, (!C)CJIJ"f--
  _d. Refrain from X excessive OR _ abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
 'te.       Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
            based on abi lity to pay, as determined by the U.S. Probation Officer;
  _ f) :mployment restriction(s):
  _j{g;. Maintain or actively seek full-time employment;
  ~           aintain or begin an educational program ;
  _ i. Avoid all contact with victims or witnesses to the crimes charged , except through counsel. The AUSA shall
       provide defense counsel and pretrial services with the names of al l victims or witnesses. The prohibition
       against contact does not take effect until defense counsel receives the list. The prohibition against contact
       applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
       defense counsel and pretrial services .-( , ' O ~ M.A:11/'ir i"0,~/Pe                            O~.s.e·-lV t-nf,
  _j. Avoid all contact with co-defendants and defendants in related cases, except through counsel; A-, C....., ~ ,
0'.Refrain from possessing a firearm , destructive device or other dangerous weapons and shall surrender (if any),
     their concealed weapons permit to the U.S. Probation Office;
X I. None of the signatories may sell , pledge, mortgage, hypothecate, encumber, etc., any real property they own,
            until the bond is discharged, or otherwise modified by the Court; LQ!/Jie:J-15'( Se"'~ I V /2-,l•cL>
  _ m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
          n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
             defendant' s computer equipment at his/her place of employment or on the computer at his/her residence which
             may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
             ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
             thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant's
             computer(s), at the defendant's expense, any hardware or software systems to monitor the defendant's computer
             use;
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                                                              CASE NUMBER: 21-80178-CR-Marra
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_ o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as we ll as contribute to the costs of
     services rendered based on ( ) abi lity to pay as determined by the U.S. Probation Officer - or - ( ) paid by
     U.S. Probation ;
       _ Location monitoring technology at the discretion of the officer
       _Radio Frequency (RF) monitoring (Electronic Monitoring)
       _ Active GPS Monitoring
       _Voice Recognition
       _ Curfew: You are restricted to your residence every day from _ _ to_ _, or as directed by the supervising
         officer.
                                                           OR
       _Home Detention : You are restricted to your residence at all times except for:
         ( ) medical
         ( ) substance abuse or mental health treatment
         ( ) court appearances
         ( ) attorney visits or court ordered obligations
         ( ) religious services
         ( ) employment
           (   ) other activities as pre-approved by the supervising officer
-    p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
        halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
        Services or ( ) based on the defendant' s abi lity to pay. You are restricted to the residential re-entry
        center/halfway house at all times except for:
       (   ) employment
       (   ) education
       (   ) religious services
       (   ) medical, substance abuse, or mental health treatment
       (   ) attorney visits
       (   ) court appearances
       (   ) court ordered ob ligations
       (   ) reporting to Pretrial Services
       (   ) other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ q. Third-Party Custody : _ _ _ _ _ _ _ _ _ _ _ _ _ __ will serve as a third party custodian and will
     report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
     requirements , the third party custodian can be subject to the provisions of 18 U.S.C . § 401 , Contempt of
     Court.
     r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
        U.S.C. 1030(e)(l)), other electronic communication or data storage devices or media, or office, to a search
        conducted by a United States Probation Officer. The defendant must warn any other occupants that the
        premises may be subject to searches pursuant to th is condition. Any search must be conducted at a reasonable
        time and in a reasonable manner.
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      _ s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
        associations, place of abode, or travel , to avoid all contact with an alleged victim of the crime and with a
        potential witness who may testify concerning the offense; report on a regular basis to a designated law
        enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
        monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
      _ t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
                 I. (   ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                           by the Court or allowed by the U.S. Probation Officer.
                 2. (   ) The defendant shall not possess or use any data encryption technique or program and shall
                           provide passwords and administrative rights to the U.S. Probation Officer.
                 3. (   ) Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                           and to contribute to the costs of services rendered based on ability to pay, as determined by
                           the U.S. Probation Office.                                                     ·
                 4. (   ) Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                           and/or computer. Additionally, the defendant is prohibited from using another individual's
                           computer or device that has internet capability.
                 5. (   ) Defendant is prohibited from establishing or maintaining any email account or social media
                           account. Additionally, the defendant is prohibited from using another individual's email account
                           or social media account. Must provide monthly or upon request, personal phone and credit card
                           billings to Pretrial Services to confirm there are no serv ices with any internet services provider.
                 6. (   ) Defendant is not permitted to enter places where children congregate including, but not limited
                           to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                           amusement parks, carnivals/fairs , unless approved by the U.S. Probation Officer.
                 7. (   ) The defendant shall not be involved in any children's or youth organizations.
                 8. (   ) Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                           sexually stimulating visual or auditory material , including telephone, electronic media,
                           computer programs, or computer services.
                 9. (   ) The defendant shall participate in a maintenance polygraph examination to periodically
                          investigate the defendant's compliance. The polygraph examination shall specifically address
                          only defendant's compliance or non-compliance with the special conditions ofrelease and shall
                          not inquire into the facts of the pending criminal case against defendant. The defendant will
                          contribute to the costs of services rendered (co-payment) based on ability to pay or availability
                          of third party payment.
     .>s:   u. May travel to and from:    c::::IQA _ , and must notify Pretrial Services of travel plans before
            leav ing and upon return.
     ~ V. Comply with the following additional conditions of bond: A-LL ..S1AJV Dlf,,z,J) c~ N                      {)1 Jl'~
          Co~ 1'-GNEO 8                      ft
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                    PENAL TIES AND SANCTIONS APPLICABLE TO DEFENDANT

        Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant
for the defendant's arrest, a revocation of release, and order of detention, as provided in 18 U.S.C. §3148,
forfeiture of any bail posted, and a prosecution for contempt as provided in 18 U.S.C. §401 , which could result
in a possible term of imprisonment or a fine.

       The commission of any offense whi le on pretrial release may result in an additional sentence upon
conviction for such offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itself.

        Title 18 U.S .C. § 1503 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine
to intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U .S.C. § 1510 makes it a felony
criminal offense punishable by imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C.
§ 151 2 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine to tamper with a
witness, victim or informant; and 18 U .S.C. § 1513 makes it a felony criminal offense punishable by imprisonment
and a $250 ,000 fine to retaliate against a witness, victim or informant, or threaten to do so.

         It is a crim inal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a
court order. If the defendant was released in connection with a charge of, or whi le awaiting sentence, surrender
for the service of a sentence, or appeal or certiorari after conviction for:

    (I) an offense punishab le by death, life imprisonment, or imprisonment for a term of fifteen years or more
        the defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
        defendant shall be fined not more than $250 ,000 or imprisoned for not more than five years, or both;
     (3) any other felony , the defendant shall be fined not more than $250 ,000 or imprisoned not more than two
         years , or both ;
     (4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
         year, or both.


        A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted ,
which means that the defendant will be obligated to pay the full amount of the bond, which may be enforced by
all applicab le laws of the Un ited States.
                .
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                                                                             DEFE DANT: APRI L ROSE FRANTANTONI
                                                                             CASE NUMBER: 21-8O178-CR-Marra
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                                     PENAL TIES AND SANCTIONS APPLICABLE TO SURETIES
V io lation by the defendant of any of the fo regoing conditions of release will result in an immediate ob ligation by the surety or sureties
to pay the fu ll amo unt of the bond . Forfeiture of the bond for any breach ofone or more conditions may be declared by a judicial officer
of any United States Di strict Court having cognizance of the above entitled matter at the time of such breach, and if the bond is forfeited
and the forfeit ure is not set as ide or remitted, j ud gment may be entered upon motion in such United States District Court against each
surety jointl y and severally for the amount of the bond, together w ith interest and costs, and execution may be issued and payment
secured as provided by the Federal Rul es of Cri minal Procedure and other laws of the United States.

                                                                 SIGNATURES
I have carefu ll y read and I understand this enti re appearance bond consisting of seven pages, or it has been read to me , and , if necessary,
translated into my native language, and I know that I am obligated by law to comp ly with a ll of the terms of this bond . I promise to obey
a ll co nditions of this bond , to ap pear in court as req uired, and to surrend er for service of any sentence imposed. I am aware of the
pena lti es and sanctio ns outlined in this bond for vio lations of the terms of the bond.

If I am an agent acting for or on behalf of a corporate surety, I further represent that I am a duly aut horized agent for the corporate surety
and have full power to exec ute this bond in the amount stated .

                                                                  DEFENDA T
Signed this         24th    day of   November              , 20 21 at West Palm Beach, F lorida .
Signed and acknowledged before me:                                --
                                                                   DEFENDAN T: (Signature)K                 ~; 0 YWstolrzc-/
WITNESS: _ _ _ _ _ _ _ _ _ _ _ _ __                                 1' &t      St-.   u, ,es·e.
                                                                                         City
                                                                                                             'K
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                                                                                                                           State

        Ci ty                           State

                                                           CORPORATE SURETY
Signed thi s                day of                         , 20       at                        , Florida
SURETY:                                                               AGENT: (Signature)
                                                                      PRINT     AME:
          City                             State




Signed this_ day of _ _ _ _ _ , 20_ at _ _ _~ Florida                      Signed this_ day of ______ , 20_ at _ _ _~ Florida
SURETY: (Signature)                                                        SURETY: (Signature) _ _ _ _ _ _ _ _ _ _ _ _ __
PRINT NAME:                                                                PRI NT NAME : _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 RELATIONSHIP TO DEFENDANT:                                                RELATIONSHIP TO DEFEN DAA'T: _ _ _ _ _ _ _ __


                    C ity                          State                          City                                     State

                                                     APPROVAL BY

 Date:          November 24 , 2021
                                                                           William Matthewman
                                                                           UNITED ST A TES M
